   Case: 1:04-cr-00784 Document #: 297 Filed: 06/19/15 Page 1 of 2 PageID #:1886




                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS

                                             )
               United States of America,     )              Case No: 04 CR 784-2
                                             )
               v.                            )
                                             )              Judge Samuel Der-Yeghiayan
                                             )
               Felipe Padilla                )
                                             )

                                            ORDER

         Defendant’s motion for sentence reduction [288] is denied. All pending motions, if any,
are stricken as moot.


                                        STATEMENT

       This matter is before the court on Defendant Felipe Padilla’s (Padilla) motion for a
sentence reduction. Padilla seeks a reduction in his sentence pursuant to 18 U.S.C. § 3582(c)(2),
based on a recent amendment to the sentencing guidelines. Pursuant to 18 U.S.C. § 3582(c)(2),
a defendant “who has been sentenced to a term of imprisonment based on a sentencing range that
has subsequently been lowered by the Sentencing Commission” can seek a reduction in his term
of imprisonment after the term has been imposed by the court “if such a reduction is consistent
with applicable policy statements issued by the Sentencing Commission.” Id.

       On December 7, 2006, Padilla was sentenced to 327 months of imprisonment. Padilla
appealed his sentence and on March 31, 2008, the Seventh Circuit remanded the action for re-
sentencing in light of the recent ruling at that point in Kimbrough v. United States, 552 U.S. 85
(2007). On March 25, 2009, Padilla was re-sentenced to 327 months of imprisonment. On
August 19, 2010, the Seventh Circuit affirmed Padilla’s sentence. Effective November 1, 2014,
the Sentencing Commission promulgated a retroactive amendment to the guidelines that lowered
the base offense level two levels for certain narcotics offenses. (2014 Amendment). Padilla
requests that his sentence be reduced based upon the 2014 Amendment. Section 1B1.10
provides that “[i]n a case in which a defendant is serving a term of imprisonment, and the
guideline range applicable to that defendant has subsequently been lowered as a result of an
amendment to the Guidelines Manual listed in subsection (c) below, the court may reduce the
defendant’s term of imprisonment as provided by 18 U.S.C. 3582(c)(2).” U.S.S.G. § 1B1.10(b).


       On March 25, 2009, the court found that Padilla’s total offense level was
27 and his criminal history category was VI, which resulted in a guidelines range of 130 to 162
months. However, Padilla was subject to a statutory mandatory minimum sentence of 240
months, which made Padilla’s restricted guidelines range 240 months. Regardless of any
   Case: 1:04-cr-00784 Document #: 297 Filed: 06/19/15 Page 2 of 2 PageID #:1887




reduction in the base level based upon the 2014 Amendment, Padilla’s statutory minimum
sentence remains at 240 months, and Padilla’s restricted guidelines range is 240 months.
Padilla’s restricted guidelines range thus has not been altered by the 2014 Amendment and is the
same as it was at the March 25, 2009 sentencing for Padilla. Therefore, a sentence reduction
under Section 1B1.10 and 18 U.S.C. § 3582(c)(2) is not applicable in Padilla’s case, and
Padilla’s motion for a sentence reduction is denied.

       Padilla also briefly argues that he is entitled to a reduction in his sentence based on a
2011 amendment to the sentencing guidelines. Such argument was previously considered and
the court has already denied Padilla’s initial motion and motion for reconsideration in that regard
on November 25, 2013 and May 21, 2014 respectively, and for the same reasons his latest
argument is without merit.


Date: 6/19/15                                        ___________________________________
                                                     Samuel Der-Yeghiayan
                                                     United States District Court Judge
